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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

 

 

for the
Southeni District of Indiana
TAMARA WTI r iAMs )
Plainnf ) - _ '- - -
V‘ ) Case NO' 1.17 cv 0670 WTL DML
COOK |NCORPORATED, COOK MED|CAL LLC, et a|s. )
Dej?zndant )
APPEARANCE OF COUNSEL

To: The clerk of coiut and all parties of record
l am admitted or otherwise authorized to practice in this coult, and I appear in this case as counsel for:

Plaintiff Tamara Williams

Date: 03/6/2017 /s Jeffrev S. Grand
Attorney ’s signature

Jeffrev S. Grand SBN# 4125803

 

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